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                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

  JANIAH MONROE, MARILYN                            )
  MELENDEZ, LYDIA HELÉNA VISION,                    )
  SORA KUYKENDALL, and SASHA                        )
  REED, individually and on behalf of a class       )
  of similarly situated individuals,                )
                                                    )
                Plaintiffs,                         )   Civil No. 3:18-cv-00156-NJR
                                                    )
  v.                                                )
                                                    )
  ROB JEFFREYS, MELVIN HINTON, and                  )
  STEVEN BOWMAN,                                    )
                                                    )
                Defendants.

                 PLAINTIFFS’ SUBMISSION OF PREVIOUSLY FILED
                    DECLARATIONS WITH SIGNATURE PAGES

       Plaintiffs hereby submit the following declarations of class members (under seal) with

handwritten signatures, which were previously filed with class members’ verbal consent (see

Dkt. nos. 405-410; 417), pursuant to the Court’s Memorandum Opinion and Order (Dkt. 390):

                         Previously
 Ex.     Declarant                                           Facts Addressed
                         Filed Dkt.
 A     Ms. Marilyn     406 (under seal)   Cross-gender strip-searches, isolation at Logan,
       Melendez                           hormone therapy, disturbing interaction with staff,
                                          commissary, private showers
 B     Ms. Sora        407 (under seal)   Isolation at Logan, commissary, private showers
       Kuykendall
 C     Ms. Maria       408 (under seal)   Private showers
       Johnston
 D     Ms. Skyler      409 (under seal)   PRISM, hormone therapy, cross-gender strip-
       Cornille                           searches, commissary, private showers
 E     Mr. Alex        410 (under seal)   Trading surgery for housing for transgender men,
       King                               cross-gender strip searches, commissary
 F     Ms. Olivia      417 (under seal)   Cross-gender strip searches, disturbing interaction
       Akindele                           with staff, delay of transfer to Centralia (PRISM)




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Dated: August 2, 2022                Respectfully submitted by:

                                     /s/ Camille E. Bennett
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                                     Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I certify that on August 2, 2022, I electronically filed the foregoing document and any

exhibits with the Clerk of this Court by using the CM/ECF system, which will accomplish service

through the Notice of Electronic Filing for parties and attorneys who are Filing Users.


                                        By: /s/ Camille E. Bennett




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